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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                  NORTHERN DIVISION




 THE PROCTER & GAMBLE COMPANY
 and THE PROCTER & GAMBLE
 DISTRIBUTING CO.,
          Plaintiffs,                               MEMORANDUM DECISION AND
                                                    ORDER DENYING DEFENDANTS’
                                                    MOTION IN LIMINE AS TO
                                                    PLAINTIFFS’ EXPERT HAUSER


                  vs.


 RANDY L. HAUGEN, et al.,                           Case No. 1:95-CV-94 TS
          Defendants.




      This matter is before the Court for consideration of Defendants’ Motion in Limine as

to Plaintiffs’ Expert Dr. Hauser. Defendants raise a Daubert1 challenge to this expert and

seek to exclude his testimony from trial.

      The Court has set forth the applicable Daubert case law in its prior Memorandum

Decision involving Plaintiff’s Expert Rosen,2 and incorporates and applies that case law

herein.


      1
          Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).
      2
          Docket No. 988.

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         Dr. Hauser designed and conducted two surveys for this case. Based on those

surveys he offers expert opinions regarding (1) the amount of Amway product sold to

people who are not affiliated with Amway distributors; and (2) the percentage of consumers

whose purchasing of products is likely to be affected by hearing the rumor at issue in this

case.3

         Defendants contend that Dr. Hauser’s opinion will not be helpful, that he is not

qualified, that his evidence is not relevant, and that his methodology is not reliable.

Plaintiffs contend that Dr. Hauser is well-qualified, that his surveys were conducted with

accepted methodology, and that his testimony will be helpful to the jury.

         “Under Rule 702, a district court must satisfy itself that the proposed expert

testimony is both reliable and relevant, in that it will assist the trier of fact, before permitting

a jury to assess such testimony.”4

         Addressing the issue of qualifications first, the Court finds that Plaintiffs have met

their burden of establishing that Dr. Hauser’s knowledge and experience qualify him as an

expert in marketing and show he is qualified to conduct to perform the qualitative research

he relies upon. Dr. Hauser is an MIT professor of Management Science who has over 30

years of experience teaching and writing on marketing issues.5 He has written numerous

articles and books, including textbooks, on marketing and consumer behavior. He testified

         3
      See Docket No. 983 Mem. Dec. And Order on Motions for Summary Judgment
on Lanham Act Claim, at 1-2 (explaining background facts of rumor).
         4
         United States v. Rodriguez-Felix, 450 F.3d 1117, 1122-23 (10th Cir. 2006)
(citations omitted).
         5
             Pl.s’ Ex. A (Hauser Academic Vita).

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that rumor is a form of communication under marketing.6 Dr. Hauser’s methodology is

qualitative research and, as Defendants’ expert’s citations to his work show, he is a

recognized as a leader in his field.

       The Court will next examine Dr. Hauser’s two qualitative surveys under the reliability

prong of Daubert. His first survey is a telephone survey designed to determine the

identities of purchasers of a major Amway product–its SA-8 laundry detergent (usage

study). This survey uses a small sample of households selected by using an established

random method of selecting telephone numbers. The actual telephone interviews were

conducted as a double blind method where neither the interviewers nor the participants

were aware of the purpose of the study. An experienced firm conducted the interviews and

the follow-up studies of a predetermined category of respondents.

       Dr. Hauser’s second survey, the rumor study, was also a qualitative study of

persons selected by random-digit dialing and from a database of randomly selected

individuals maintained by market research firms in four cities. These interviews were

videotaped and were conducted by interviewers who had been trained by conducting

pretest and practice interviews. This study involved the trained researcher reading the

interviewee the rumor at issue in this case together with carefully selected rumors involving

two other nationally-known firms. After each story, the interviewees was asked if he or she

were aware of the rumor, what their thoughts and impressions of the rumor were and about

their past, current and likely future purchasing behavior. The interviews were reviewed and



       6
           Pl.s’ Ex. 2 (Hauser 1998 Deposition), at 38.

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evaluated by three trained judges who watched and evaluated the videotapes in random

order in separate rooms. The evaluations were cross checked and the reliability across

judges’ evaluations was found to be high. The survey determined a percentage of

consumers who believed or probably believed the rumor, and who would decrease or

probably decrease their purchases of P & G products as a result. The results were tested

against a standard for error.7

       Considering the four non-exclusive factors that the Supreme Court in Daubert listed

for a trial court’s use in making reliability assessments,8 the Court finds that all of the

factors support a finding of reliability for the methodology used by Dr. Hauser. The

qualitative theory’s use of small samples can be, and has been, tested as set forth in Dr.

Hauser’s award winning and frequently cited paper.9 The theory has been subjected to

peer review and publication. There are standards for the measuring rates of error.10 And

this theory has been accepted in the relevant field of marketing.

       The Court finds that Plaintiffs have met their burden of showing that the

methodology is reliable. Where the Court has determined that Plaintiffs have met their

burden of showing that the methodology is reliable, the expert’s application of the

methodology and his or her conclusions are issues of credibility for the jury.



       7
           See Ex. B, at 15 n.13 (explaining method used to assess reliability of results).
       8
      Bitler v. A.O. Smith Corp., 391 F.3d 1114, 1119 (10th Cir. 2004) (quoting
Daubert, 509 U.S. at 589, 592-93, 597) (listing four factors).
       9
           Pl.s Ex. C.
       10
            See footnote 7, supra.

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       In variations of their argument that the small samples used in qualitative study are

not sufficient, Defendants argue that “connective reliability” and “foundational reliability” are

not shown. The Court finds that the size of the sample of consumers to be interviewed,

the selection of the cities from which the interviewees are drawn, and the accuracy of the

three judges who evaluated the interviews, are all challenges to the credibility of this

expert’s conclusions. As such, they can be raised on cross examination, the traditional

method of challenging expert evidence that the Court finds admissible but that the party

asserts is “shaky.”11

       Defendants next contend that the usage study does not “fit” this case. This raises

the second Daubert prong.

       Assuming [the] reliability prong is met, the court will still consider other
       non-exclusive factors to determine whether the testimony will assist the trier
       of fact: (1) whether the testimony is relevant; (2) whether it is within the
       juror's common knowledge and experience; and (3) whether it will usurp the
       juror's role of evaluating a witness's credibility. In essence, the question is
       “whether [the] reasoning or methodology properly can be applied to the facts
       in issue.”12

       Defendants do not contest the relevance of the rumor study but do contend that

usage study relates only to the issues at the Texas trial and not to the remaining issue in

this trial. The Court agrees with Plaintiffs that the usage study is relevant to Defendants’

position that the Amvox Messages were only sent amongst themselves and the implication

that it did not travel outside that community. The Court finds it relevant for that purpose.



       11
            Daubert, 509 U.S. at 596.
       12
            Rodriquez-Felix, 450 F.3d at 1123 (quoting Daubert, 509 U.S. at 593).

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       Lastly, Defendants contend that the evidence should be excluded under Fed. R.

Evid. 403 on the grounds of unfair prejudice, undue delay, and jury confusion. The Court

finds no prejudice, no undue delay, and does not find that the testimony and evidence is

likely to result in juror confusion. It is therefore

       ORDERED that Defendants’ Motion in Limine as to Plaintiffs’ Expert Hauser (Docket

No. 936) is DENIED.

       DATED March 5, 2007.

                                             BY THE COURT:


                                             ___________________________________
                                             TED STEWART
                                             United States District Judge




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